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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ALISHA STRIFE,                                     §
                                                   §
                        Plaintiff,                 §
                                                   §
v.                                                 §    C.A. No. 4:23-cv-00358
                                                   §
ALDINE INDEPENDENT                                 §
SCHOOL DISTRICT, et al.,                           §
                                                   §
                        Defendants.                §

             ALDINE INDEPENDENT SCHOOL DISTRICT’S RESPONSE TO
                      PLAINTIFF’S SECOND STATUS UPDATE

        Aldine Independent School District (Aldine ISD or the District) files this Response to

Plaintiff Alisha Strife’s Second Status Update as follows.

        At the July 20, 2023, hearing, the Court instructed Aldine ISD to respond to Plaintiff’s

interrogatory regarding service-animal-related accommodation requests the District received for the

three years preceding Plaintiff’s August 2022 request. See July 20, 2023, Hearing Transcript Excerpt,

attached as Exhibit 1, at 50:2-21, 51:6-8. The Court instructed Aldine ISD to provide “the number of

requests that were made, how long it took to respond to those requests, and how many were granted

and how many were denied,” and stressed that this discovery order did “not require the identification

of any person in that regard such that their confidential information is maintained. Id. at 50:9-10.

        Aldine ISD complied with the Court’s order when it produced its interrogatory answer to

Plaintiff of July 28, 2023. See Except from Aldine ISD’s July 28, 2023, Supplemental Objections and

Answer to Plaintiff’s First Set of Interrogatories, attached as Exhibit 2. The District produced the

Court-ordered information in the following table format:
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        Request No.              Date Request               Date Decision on              Determination
                                   Submitted                Request Reached
    1                         August 21, 2019             August 27, 2019             Request Granted
    2                         July 27, 2020               September 19, 2020          Request Denied
    3                         August 30, 2022             February 27, 2023           Request Granted

Id.

         Plaintiff, in turn, filed her so-called “status update” not to complain that the District failed to

comply with the Court’s order; instead, Plaintiff’s “status update” alleges that after she received the

table copied above, she “independently discovered” the identity of the former employee who

requested an accommodation in 2020, that she “independently discovered” the settlement of that

employee’s charge of discrimination with the EEOC “for a substantial monetary sum following an

EEOC-conducted mediation,”1 and that she “independently discovered” that Aldine ISD had the same

legal representation during that matter. See Dkt. No. 58 at 1-2. The remainder of Plaintiff’s “status

update” maligns the District’s counsel, yet again2, for informing the Court on February 15, 2023, that

he was aware of a previous claim involving a denial of a service-animal-accommodation but not

disclosing the confidential, mediated settlement of that matter. Id. at 2 & n.1.

          The bottom line is that Plaintiff’s latest filing provides the Court with no relevant “update”

on the status of this case at all. From the outset, it is undisputed that Plaintiff received the

accommodation she requested, so her attempt to infer some sort of pattern with the other employee’s

denied accommodation request in 2020 is just nonsense. If, however, common sense were suspended



1
  To be clear, the EEOC’s mediation program is confidential, and “The mediator and the parties must
sign agreements that they will keep everything that is revealed during the mediation confidential.”
See EEOC’s Questions and Answers About Mediation.
2
  As summarized in the District’s Response to Plaintiff’s Motion for Leave to File Sur-Reply,
Plaintiff’s unfounded attacks on counsel of Aldine ISD’s professional character have, unfortunately,
been a constant fixture throughout this lawsuit. See Dkt. 51 at 1-2.

                                                     2
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for the sake of argument so that the 2020 denial could be considered comparable to Plaintiff’s granted

accommodation, comparator information is not part of the analysis in disability discrimination claims.

See EEOC v. LHC Group, Inc., 773 F.3d 688, 697 (5th Cir. 2014) (comparator information not part

of a plaintiff’s prima facie case for disability discrimination). Further assuming, arguendo, that a 66%

approval rate of service-animal-accommodation requests (including Plaintiff’s approved

accommodation), in a sample size of three requests over three school years3, could show any sort of

pattern-or-practice at all, let alone one favorable to Plaintiff’s position, a pattern-or-practice claim is

unavailable in private discrimination suits. See Frank v. Xerox Corp., 347 F.3d 130, 136 (5th Cir.

2003) (recognizing that the pattern-or-practice method of proof is not available in private, non-class

action lawsuits) (citing Celestine v. Petroleos de Venezuella SA, 266 F.3d 343, 355-56 (5th Cir.

2001)); see also Pickney v. Diamond Offshore Servs. Ltd. 2022 WL 889035, at *17 (S.D. Tex. 2022)

(Lake, J) (collecting cases and ruling, in a case brought by Plaintiff’s counsel and in an order

concerning the allowable presentation of evidence at trial, “Because this is neither a government

action nor a class action but, instead, a private action in which Plaintiffs assert only their own

individual claims of race discrimination, Plaintiffs may not present evidence or argument that DOSL



3
  “Raw numbers or statistics alone, while perhaps having some probative value, are not sufficient in
and of themselves to create a fact issue around whether Defendant’s nondiscriminatory rationale is
pretextual.” Harrison v. Chipolbrok America, Inc., 2019 WL 1755530, at *10 (S.D. Tex. 2019)
(Hanen, J) (unpublished) (citing E.E.O.C. v. Tex. Instruments Inc., 100 F.3d 1173, 1184 (5th Cir.
1996)); see also Ward v. Midwestern State Univ., 217 F. App’x 325, 329 (5th Cir. 2007) (unpublished)
(finding that plaintiff’s allegations that there were only four African–American faculty out of
approximately 500 faculty members and that another African–American faculty member was denied
tenure failed to establish pretext, as the plaintiff “fail[ed] to present any particularized evidence to
support the[ ] allegations”) (alterations in original). The Fifth Circuit has also “found that a statistical
analysis that did not purport to analyze the facts surrounding the circumstances of the individual at
issue was ‘impotent’ to establish whether an employer’s stated reasons were pretextual.” Joseph v.
City of Dallas, 277 F. App’x 436, 442 (5th Cir. 2008) (rejecting plaintiff’s statistics because he
“merely provided raw numbers”); see also Cheatham v. Allstate Ins. Co., 465 F.3d 578, 583 (5th Cir.
2006) (“These statistics are not probative of discriminatory intent because they are devoid of
context.”).

                                                     3
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engaged in a pattern-or-practice of race discrimination.”) (unpublished). In short, Plaintiff’s latest

“status update” does nothing to impact the current procedural posture of this case—that this, whether

this case should be dismissed for the reasons stated in Aldine ISD’s pending Rule 12(b)(6) motion.

See Molden v. E. Baton Rouge Parish Sch. Bd., 715 F. App’x 310, 315 (5th Cir. 2017) (unpublished)

(“The record, however, is clear that the School Board did provide Molden with a reasonable

accommodation. Thus any putative failure to engage in an interactive process cannot be said to have

led to a failure to reasonably accommodate.”) (emphasis in original) (citing Silva v. City of Hidalgo,

Tex., 575 F. App’x 419, 424 (5th Cir. 2014) (unpublished); (Loulseged v. Akzo Nobel Inc., 178 F.3d

731, 736 (5th Cir. 1999)).

       Against the backdrop of the manifest absence of legal support backing Plaintiff’s decision to

“update” the Court in the manner she chose, the impropriety of her decision cannot be overstated.

Despite Aldine ISD only disclosing bare numbers in compliance with the Court’s July 20th order,

which the Court took care to state was crafted to allow the District to maintain the confidentiality of

employees’ medical information, Plaintiff “independently discovered” not only the identity of the

individual from the 2020-2021 school year, but also the details concerning the outcome of a

confidential settlement in that matter. 4 Irrespective of the questionable circumstances by which



4
  Plaintiff does not explain how she “independently discovered” the information she discusses in her
Second Status Update. To the extent Plaintiff “independently discovered” the identity and settlement
history of a former Aldine ISD employee using credentials she only has by virtue of her employment
in the Human Resources Department, such actions would constitute violations of Aldine ISD Board
Policies and could even violate the Texas Penal Code. See Aldine ISD Board Policy DH (Local) (“The
District holds all employees accountable to the Educators’ Code of Ethics. [See DH(EXHIBIT)]”);
see Aldine ISD Board Policy DH (EXHIBIT) (providing, in relevant part, “Standard 1.4. The educator
shall not use institutional or professional privileges for personal or partisan advantage.”; “Standard
1.7. The educator shall comply with state regulations, written local school board policies, and other
state and federal laws); see also Tex. Educ. Code § 21.041(b)(8) (requiring the State Board of
Education to adopt an educator’s code of ethics); see also 19 Tex. Admin. Code § 247.2 (Code of
Ethics and Standard Practices for Texas Educators); see also Tex. Penal Code § 39.06(b) (“A public



                                                  4
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Plaintiff “independently discovered” the former employee’s identity and other sensitive,

employment-related information, and regardless of whether Plaintiff’s “update” to the Court was

meant to coerce her own “substantial monetary sum” from the District 5, her decision to broadcast this

employee’s job title and that she had a disability resulting in a request for an accommodation in a

public filing tramples upon the stated purpose of the Court’s order that Aldine ISD produce only de-

identified, numerical information in response to Plaintiff’s discovery request. Now, due to Plaintiff’s

tactic, the former employee’s private information is at the fingertips of anyone with Internet-search

capabilities.

        In sum, Plaintiff’s Second Status Update provides no legal basis for the continuation of this

case in the face of Aldine ISD’s pending dispositive motion, how Plaintiff acquired the information

she “independently discovered” after the District’s production of only raw numbers is, at a minimum,

concerning, and her “update” contravenes the clearly stated purpose of the Court’s limited discovery

order, which was aimed at protecting the confidentiality and privacy rights of Aldine ISD employees.

Unfortunately, Plaintiff’s latest filing conforms to the established pattern in this case, but Plaintiff’s

vexatious multiplication of proceedings should not detract from the main point at issue in this stage




servant commits an offense if with the intent to obtain a benefit . . . he discloses or uses information
for a nongovernmental purpose that: (1) he has access to by means of his office or employment; and
(2) has not been made public.”).
5
  At last count, more than four months after Aldine ISD granted Plaintiff’s accommodation request,
Plaintiff’s “non-negotiable” settlement demand for attorneys’ fees alone more than sextuples the
“substantial monetary sum” referenced in Plaintiff’s Second Status Update. That said, although it
should go without saying, information related to prior settlements and settlement discussions is
inadmissible to prove the validity or value of a case under the Federal Rules of Evidence. See Fed. R.
Evid. 408(a); see also Adegbenro v. Bank of America, 2023 WL 4275507, at *7 (S.D. Tex. 2023)
(magistrate report and recommendation) (citing Hudspeth v. Comm’r of Internal Revenue, 914 F.2d
1207, 1213 (9th Cir. 1990) (“Rule 408 does apply to situations where the party seeking to introduce
evidence of a compromise was not involved in the original compromise.”)), adopted 2023 WL
4725012, at * 1 (S.D. Tex. 2023) (Bennett, J) (slip copy).

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of the litigation—Plaintiff remains employed and has her service animal with her at work as an

approved accommodation. Stated bluntly, enough is enough, and the District respectfully requests

that the Court dismiss this case based on Aldine ISD’s pending Motion to Dismiss Plaintiff’s First

Amended Complaint (Dkt. No. 44).6

                                                     Conclusion

         Aldine ISD requests that the Court grant its Motion to Dismiss Plaintiff’s First Amended

Complaint pursuant to Rule 12(b)(6) (Dkt. No. 44), dismiss Plaintiff’s claims with prejudice, and

award Aldine ISD with its taxable costs of court.

                                                       Respectfully submitted,

                                                       SPALDING NICHOLS LAMP LANGLOIS




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                                                       ATTORNEYS FOR DEFENDANTS




6
 Aldine ISD is aware of Plaintiff’s Sur-Reply to Aldine ISD’s Motion to Dismiss Plaintiff’s First Amended Complaint,
which is titled as a Notice of Supplemental Authority. See Dkt. 59. In the event the Court does not strike the filing for
noncompliance with this Court’s Procedure B.5(f), the District intends to seek leave of Court to file a Response to
Plaintiff’s supplemental authority.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served on all
counsel of record via electronic mail and/or ECF on August 21, 2023.




                                                      ATTORNEY FOR DEFENDANTS




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